Case 1:20-cr-20266-PCH Document 102 Entered on FLSD Docket 05/13/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:20-cr-20266-HUCK/BECERRA


  UNITED STATES OF AMERICA,


  v.

  DUROJAIYE OBAFEMI MONSURU LAWAL,

        Defendant.
  _____________________________________/

       ORDER ADOPTING AND AFFIRMING R&R AND ADJUDICATING DEFENDANT
                                 GUILTY

         THIS MATTER came before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation (“R&R”) on Plea of Guilty [ECF No. 88], which was entered on

  May 4, 2021. In the R&R, Judge Becerra found that the Defendant Durojaiye Obafemi Monsuru

  Lawal freely and voluntarily entered a plea of guilty as to Count I of the Indictment, which charges

  Defendant with conspiracy to commit money laundering in violation of Title 18 U.S.C. §

  1956(a)(3)(B).

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea, that

  Defendant be adjudicated guilty of Count I, and that a sentencing hearing be conducted for final

  disposition of this matter. The Court has reviewed Judge Becerra’s R&R, no objections have been

  filed, and the Court has been advised that no objections will be filed. Therefore, based on a de

  novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s R&R on Plea of

  Guilty is ADOPTED and AFFIRMED in its entirety; (2) the Court accepts Defendant’s plea of

  guilty, and Defendant is hereby adjudged guilty as to Count I of the Indictment; (3) a sentencing
Case 1:20-cr-20266-PCH Document 102 Entered on FLSD Docket 05/13/2021 Page 2 of 2




  hearing before the Honorable Paul C. Huck is set for Wednesday, July 21, 2021 at 2:30 PM; and

  (4) the jury trial previously set for May 24, 2021 and the calendar call previously set for May 19,

  2021 [ECF No. 62] are now cancelled.

         DONE AND ORDERED in Miami, Florida on May 12, 2021.




                                                       PAUL C. HUCK
                                                       UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
